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sDD:MPc/SK
F. #2011R00293
UNITED sTATEs DISTRICT CoUR'r 3 83
EASTERN DISTRICT 0F NEW YORK 1
______________ X
UNITED sTATES oF AMERICA TO BE FILED UNDER SEAL
'agamst' COMPLAINT AND
A F F 1 D A v l T 1 N
MIRSADKANDIC, SUPPORT OF
Df d t APPLICATION FoR
een a“‘ ARREST WARRANT
(18 U.S.C. § 233913(3)(1))
______________ X

EASTERN DISTRICT OF NEW YORK, SS:

ROBERT J. ELMEN, being duly sworn, deposes and states that he is a Special
Agent With the Federal Bureau of Investigation, duly appointed according to law and acting as
such.

In or about and between Decernber 2013 and the present, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant MIRSAD KANDIC did knowingly and willfully conspire to provide material
support and resources, as defined in 18 U.S.C. § 2339A(b), including services and personnel
(himself and others), to a foreign terrorist organization, to wit: the Islamic State of Iraq and the
Levant (“ISIL”).

(Title 18, United States Code, Section 2339B(a)(l))

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2.

The source of your deponent’s information and the grounds for his belief are as
follows:

1. I have been a Speciai Agent with the Fecleral Bureau of Investigation
(“FBI”) for approximately 17 years and have been assigned to the New York Joint Terrorism
Task Force (“JTTF”) for approximately 6 years. As a Special Agent, I have investigated
numerous matters during the course of which I have conducted physical surveillance,
interviewed witnesses, executed court-authorized search warrants and used other investigative
techniques to secure relevant information I am familiar with the facts and circumstances set
forth below from my participation in the investigation, my review of the investigative file, and
from reports of other law enforcement officers involved in the investigation

2. The defendant MIRSAD KANDIC is a 34-year old legal permanent
resident of the United States and citizen of Kosovo. Between approximately May 2003 and
November 2013, KANDIC resided in the Bronx and Brooklyn, New York. In December
2013, KANDIC travelled to Istanbul, Turkey, and joined ISIL. As set forth in more detail
below, KANDIC worked to further lSlL’s media operations and recruit foreign fighters. He
presently serves as an ISIL facilitator in Turkey.
A. l_SL

3. ISIL is a foreign terrorist organization that, since 2013, has claimed credit
for numerous terrorist activities, including seizing Mosul, a city in northern Iraq, and launching

rocket attacks on eastern Lebanon in March 2014. These terrorist activities are part of ISIL’s

 

l Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.

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broader goal of forming an Islamic state or “caliphate” in Iraq and Syria. On October 15,
2004, the United States Secretary of State designated al-Qaeda in Iraq (“AQI”), then known as
Jam’at al Tawhid wa’al-Jihad, as a Foreign Terrorist Organization (“FTO”) under Section 219
of the Immigration and Nationality Act and as a Specially Designated Global Terrorist under
Section l(b) of Executive Order 13224. On May 15, 2014, the Secretary of State amended the
designation of al-Qaeda in Iraq as an FTO under Section 219 of the lmmigration and
Nationality Act and as a Specially Designated Global Terrorist under section l(b) of Executive
Order 13224 to add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name.
The Secretary also added the following aliases to the ISIL listing: the Islamic State of Iraq and
al-Sham (“ISIS”), the Islamic State of Iraq and Syria (“ISIS”), ad-Dawla al-Islamiyya fi al-‘Iraq
wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production.
Although the group has never called itself “al-Qaeda in Iraq,” this name has frequently been
used to describe it through its history. ln an audio recording publicly released on June 29,
2014, ISIL announced a formal change of its name to the Islamic State (“IS”). To date, ISIL
remains a designated FTO.
B. KANDIC’s Travel to Join ISIL

4. On or about August 20, 2015, law enforcement agents interviewed a
cooperating witness (“CW-l”).2 CW-l stated, in sum and substance and in part, that:

approximately nine or ten years ago, CW-l and KANDIC met through a third individual; at the

 

2 In 2009, CW-l was arrested and pleaded guilty to obstruction of justice
pursuant to a cooperation agreement with the government Since October 2009, CW-l has
been cooperating with the government CW-l has proven reliable in the past and his
information has been corroborated

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time, KANDIC was a doorrnan at a building in the Bronx, New York; during one of their
meetings, KANDIC expressed a desire to travel to Pakistan and engage injihad against U.S.
military forces; and KANDIC stated that his fundamental motivation for this desire was
martyrdom as well as the opportunity to fight against non-Muslims.

5. CW-l further stated, in sum and substance and in part, that: several years
later, CW-l met with KANDIC again; at that time, KANDIC had moved to Brooklyn, New
York and become a taxi driver; KANDIC discussed the possibility of travelling to Afghanistan
to engage in jihad; and KANDIC stated that once he arrived in Europe or lran, he would take a
smuggler’s route to a war zone.

6. Law enforcement investigation revealed that, in December 2013,
KANDIC travelled to lstanbul, Turkey. Specitically, on November 18, 2013, KANDIC
traveled on Comparlia Panamena de Aviacion, S.A. (CM) Flight No. 263, from Monterrey,
Mexico to Panama City, Panama; later the same day, KANDIC traveled on Compania
Panamena de Aviacion, S.A. (CM) Flight No. 759 from Panama City, Panama to Sao Paolo,
Brazil, arriving the next day November 19, 2013. According to information provided by the
Turkish government, on December 25, 2013, KANDIC entered Turkey through Istanbul Sabiha
Gokcen International Airport.

7. Records obtained from Western Union revealed that between December
2013 and July 2014, KANDIC received wire transfers; the money was sent from the Bronx,
New York to KANDIC in Istanbul, Turkey.

8. Based on my knowledge, training, and experience, Turkey is a common

transit point to obtain entry into Syria. Many citizens of Western countries who have travelled

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from the United States and Europe to join ISIL in Syria have followed the route of entering
Turkey legally and then being smuggled by facilitators across the border into Syria.
C. KANDIC’s Furtherance of ISIL Media Operations

9. Based on my knowledge, training, and experience, and consultation with
other law enforcement officers and researchers Who investigate terrorism crimes relating to
Islamic extremism, 1 know that ISIL members and sympathizers often create multiple related
email and social media accounts, over time and in succession, for various reasons including to
protect the content of their accounts, circumvent suspension, and evade detection and
surveillance By the same token, they also often relate the accounts in some manner in order to
retain followers. For example, I have observed ISIL members continue their Twitter activity
across multiple accounts by opening up new accounts With the same or substantially similar
usemames and a number added to the end, the same or substantially similar screen names, the _
same profile photograph or cover photograph, and messages referring to prior accounts Based
on my knowledge, training, and experience, the foregoing observations, and a review of the
records in this investigation, including publicly-available information on Twitter and records
obtained from Twitter, l have identified a series of related Twitter accounts that I believe
KANDIC has used to express his support of ISIL and provide support to ISIL.

10. From approximately April 2014 to the present, KANDIC used multiple
Twitter accounts to publicize ISIL activities, disseminate ISIL propaganda, and otherwise
hirther ISIL’s media operations For example, in June 2014, Twitter username
“@Dawla_NeWsMedia” (“Twitter Account A”), whom I believe to be KANDIC, posted

multiple messages, including the following:

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6
a On June l l, 2014, international media reported that ISIL members
had kidnapped 49 Turkish citizens B‘om the Turkish consulate and 31 Turkish truck drivers.
Later that day, KANDIC posted the following message: “Turks are not kidnapped.. They are
only taken to a safe location and until the investigation procedures are completed..”
b. On June 12, 2014, the Turkish media reported that Twitter
Account A was “one of the top social media accounts reporting about the most recent activities
of ISIL in Syria and Iraq since April.” On that same day, after hundreds of Turks and Kurds
reportedly flooded Twitter Account A With messages, KANDIC posted a message expressing
that he was “annoyed” by certain Turks and Kurds and that he was “opening a new Account
soon.”

11. Speciflcally, the investigation revealed that Twitter Account A was
created using the e-mail “isis.news.media@gmail.com.” During the course of the
investigation l discovered that isisnewsmedia@gmail.com (altemate e-mail
isis.news.media@gmail.com) listed brothermirsad@gmail.com as the recovery e-mail.

Further investigation revealed that the brothermirsad@gmail.com email address was used for
an eBay account operated by KANDIC. Furthermore, it listed the user ID: kandi_mirsa;
e-mail address: brothermirsad@gmail.com; and an address and telephone number that
belonged to KANDIC when he resided in New York.

12. A review of publicly-available information on Twitter revealed that
Twitter Account A used the screen names “Join Islamic State” and “Islamic State Media.”
Further review of publicly-available information on Twitter revealed that Twitter Account A

posted messages reflecting an intent to support ISIL. Twitter Account A was also used to

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7
recruit personnel to ISIL, publicize ISIL activities, disseminate ISIL propaganda, and otherwise
further ISIL’s media operations
13. In October 2014, Twitter username “@IS_World_Press” (“Twitter
Account B”), whom I believe to be KANDIC, engaged in communications With an unidentified
individual (“UI-l”) regarding content for ISIL media operations. During the communications,
KANDIC told UI-l, “I worked in media department before and l know some brothers in
Dawlah.”3 KANDIC further told Ul-l, “It Will be great to have a brother who can work only
on the maps”; “Take his time and make it look really advanced”; “And we would centralize the
news of tge conquered places to be send to him.” Ul-l agreed to perform such work and create
a new account for that purpose. Further investigation revealed that Twitter Account B used
the display name, “GREAT IS NATION.” A review of the 58 Twitter accounts operated by
KANDIC revealed that KANDIC informed others that he intended to use the same user names
with sequential numbers to communicate and GREAT IS NATION as a logo. For example,
the username “@Greatest_Nation,” revealed a direct message conversation between
@Greatest_Nation and another Twitter user on March 5, 2015. The Twitter user asked
@Greatest_Nation if he would always keep the @ the same and just add numbers in the event
he got suspended @Greatest_Nation responded, “Yes in ShaAllah. GREAT IS NATION is

my logo and JOIN IS NATIO .”

 

3 The term “Dawla” (or “Dawlah”) is an Arabic word meaning “the state” and, in
this context, refers to ISIL.

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14.

KANDIC subsequently sent UI-l a series of updates regarding

ISIL-claimed territory. For example, on October 5-7, 2014, KANDIC, using Twitter Account

B, sent UI-l the following updates:

“#Baghdad surburb of Abu Ghraib falls to #IslamicState ; 228 ISF militants
killed Across #Iraq http://t.co/MthBRuQnr”

“ISF pulled out of Albu Khanfar area between Nahiyat al-Karrnah and
Tharthar area, #IS asserted control over the Tharthar canal 28km bridge.”
“#Ramadi reportedly almost empty of #Iraqi Safavid forces! IS\n\nISF
withdrawal to Anbar Ops Command HQ outside city”

“#Syria #IslamicState take control of Mount Mishtenur &amp; some
neighborhoods of #Kobane”

“#Iraq: IS seizes Albu Khanfar area in al-Karma connecting wider Fallujah
area w/ Samarra distric ”

“Lots of reports floating: Dhuluiyah completely in IS control.confirrned re all
sections oftown,except Jabour area.need clarification on that”

“The Islamic state now controls 95% of Al Anbar province that includes part
of Furat wilaya, Anbar Wilaya and Faluja wilaya.”4

“#Kobane battle NEW MAP on Oct 6, 2014 : #IS entered city from SE on
Sunday http://t.co/IleKDchE”

“#IS controlled the school and killing a rawatidh [objectors or Shia] near

 

4 The term “vvilaya” (or “wilayat”) is an Arabic word meaning “province” and,
in this context, refers to administrative divisions in ISIL’s proclaimed caliphate.

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#Samarra South of #Tikrit”

o “Bismillah. The #IslamicState’s transnational armies also cleared #Ramadi

today and battles are raging near Joint Base Balad Airbase”

0 “Mandate of Salahuddin - #Tikrit liberated by lions of Allah #IslamicState -

#~L\_,\JST‘ [Tikrit] http://t.co/x52vaaXO\/'”

o “#IslamicState take over new hospital at south western entrance of Kobane

http://t.co/S l WLN?)thS”

o “#Syria Clashes btw #IslamicFront &amp; #IslamicState in northern rural

#Aleppo-#IS try to encircle #IF hold city of #Mare http://t.co/XB<TvnirFi”

15. KANDIC, using Twitter Account B, instructed UI-l to “Iake your time
it’s not a rush” and “Just make it advanced professional way so that kufar [the infidels] know
that we’re good in what we do.” KANDIC also discussed map details such as color and
composition, telling UI-l to “'l`ry to use nice color for IS territory” like “silver to look clean and
purifred” and make it so that “You can zoorn in and the map it’s clear with all the names of the
villages and towns” and “city’s.”

16, UI-l informed KANDIC (at Twitter Account B) that “@IS_maps is the
new account for maps.” On October 8, 2014, KANDIC asked UI-l, “Did you post it?” UI-l
responded, “Yep posted.” A review of publicly-available information on Twitter revealed
that, on October 8, 2014, an individual With Twitter username “@lS_maps” posted a map with
the message “latest map”; the map depicted territory in Iraq and Syria colored in silver and

labeled “Islamic State” and identified various towns and cities in the region by name.

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D. KANDIC’s Facilitation of Foreign Fighters

17. From approximately May 2014 to the present, KANDIC used multiple
Twitter accounts to recruit foreign fighters and facilitate their travel into ISIL-controlled
territory.

18. On May l 1, 2014, KANDIC, using Twitter Account A, told an
unidentified individual (“UI-2”), in sum and substance and in part, that it is possible for an
individual to make hijrah5 so long as he or she undergoes a background check.

19. In August 2014, KANDIC, using Twitter Account A, engaged in
communications with an unidentified individual (“UI-3”), who was interested in joining ISIL.
During the communications, KANDIC asked Ul-3 about his background, including his age,
financial status, and whether he had a reference in ISIL. KANDIC advised UI-3 not to fly to
Iraq, asked UI-3 whether he could travel to Turkey, and instructed UI-3 to get back in touch
after UI-3 had obtained the necessary visa and budget.

20. In August 2014, KANDIC, using Twitter Account A, engaged in
communications with an unidentified individual (“UI-4”), who purported to be interested in
joining ISIL. During the communications, KANDIC asked UI-4 about his country of origin.
KANDIC advised UI-4 not to fly to Saudi Arabia and instructed UI-4 to fly one-way to Europe
and then to Istanbul, Turkey. KANDIC explained, “One way to Europe..because you’re not

sure when you are getting back to US ;).” UI-4 responded, “Or if. 1 would of course desire to

 

5 The term “hijra” (or “hijrah”) is an Arabic word meaning “migration” and, in
this context, refers to travelling to join ISIL.

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come back, but if Allah has other plans for me, I shall accept Jannah [Paradise] with no

resistance.”6

21. In August 2014, KANDIC, using Twitter Account A, engaged in
communications with an unidentified individual (“UI-S”), who indicated that he already had a
ticket. During the communications, KANDIC provided UI-S with a contact number and
instructed UI-S to call the number after arriving in Istanbul. KANDIC also directed that all
further communications from UI-S take place on a different, encrypted social media
application

22. In August 2014, KANDIC, using Twitter Account A, engaged in
communications with an unidentified individual (“UI-6”). During the communications,
KANDIC asked UI-6 about his background, including his country of origin and whether he had
a reference “inside.” KANDIC advised Ul-6 on how to fly to “ist” (Istanbul, Turkey) and
instructed UI-6 to get back in touch when he was on his way so that KANDIC could “send a

brother” for UI-6.

23. In February 2015, Twitter username “@Here_Akhy” (“Twitter Account
C”), whom l believe to be KANDIC, engaged in communications with an unidentified
individual (“UI-7”), who asked what he could do for friends going to ISIL. KANDIC responded

by instructing UI-7 to contact him via a different, encrypted social media application

 

6 The term “Jannah” is an Arabic word meaning “heaven” or “paradise” and
refers to a place reached after death.

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12

24. On September 20, 2015, Twitter username “@JoinlSNationSl” {“Twitter
Account D”), whom I believe to be KANDIC, posted the following message:
“#BREAKING\n\“URGENT\” Please refrain from making any Hijrah plans for Shaam [Syria],
As the borders are closed.! !\nl-Iowever other Wilayat are still open” On that same day,
KANDIC engaged in communications with an unidentified individual (“UI-S”). During the
communications, KANDIC identified himself as “Work[ing] directly with Hudud office” and
having “do[ne] this 24/'1r for 6-7 years.” Based on my knowledge, training, and experience,
and consultation with an Arabic linguist, the term “Hudud office” means the Border Office.

E. KANDIC’s Facilitation of “Jihadi Jake”

25. From approximately August 2014 to March 2015, KANDIC used
multiple Twitter accounts to facilitate the travel of an individual who has been identified as J ake
Bilardi, also known as “Abu Abdulla al-Australi” and “Jihadi Jake,” a citizen of Australia.
Based on my knowledge, training, and experience, and a review of the records in this
investigation 1 have identified multiple Twitter accounts that Bilardi used to communicate with
ISIL members.

26. On August 17, 2014, KANDIC, using Twitter Account A, engaged in the
following communications with Bilardi, using Twitter username “@Abu_Abdullah_IS”:

BILARDI: Asalamualaikum wa rahmatullah [May the peace and

mercy of Allah be with you]. Do you want me to tell you
when I’ll arrive in Turkey?

KANDIC: Wa alaykum sallam wr wb [and upon you be peace, mercy,
and blessings]

KANDIC: Yes Akhy [brother]

BILARDI: I’ll arrive in Istanbul in on 26 Aug

BILARDI:

KANDIC:

BILARDI:

KANDIC:

KANDIC:

KANDIC:

BILARDI:

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BILARDI:

KANDIC:

KANDIC:

BILARDI:

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13
Also, should l book a hotel? I’ll be getting there in the
morning. If so how long should l book it for?
Time?
6:10am
Ok
No booking
A brother will pick you up
At the airport?
Yes
What’s the name of the airport
Ataturk international airport
Ok
Good
You don’t need the Hotel
Ok. Jazak Allah khair [God bless you]
He will tell you what and how
Ameen wa iyyaka [And you too]
We will speak again
Inshallah [God willing] :)
Before you get on your vvay
I will give you the brothers number

Ok

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KANDIC:

BILARDI:

14
Don’t forget to ask me for the number

Ok, will do.

27. The conversation between KANDIC, using Twitter Account A, and

Bilardi continued. On August 21, 2014, they exchanged the following messages:

BILARDI:

KANDIC:

BILARDI:

KANDIC:

BILARDI:

KANDIC:

Also you said you would give me the brothers number but I
won’t have a working phone to even contact him.

That’s correct so don’t worry about it
How will we find each other then?

I’ll let you know what to do when you arrive there.. so he
recognizes you

Ok np [no problem]. Do you want me to message you a few
hours before I leave?

Yes

28. The conversation between KANDIC, using Twitter Account A, and

Bilardi continued On August 24, 2014, they exchanged the following messages:

BILARDI:

KANDIC:

KANDIC:

KANDIC:

BILARDI:

KANDIC:

KANDIC:

BILARDI:

I’m going to be leaving in a few hours

Wa alaykum sallam wa rahmetullah [and upon you be
peace and mercy]

In shaAllah [God willing]

May Allah keep you safe

Ameen

So you will be in lst [Istanbul] on tge 25th or 26th ‘?
ln the morning?

26th at 6:10am

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KANDIC: In shaAllah [God willing]

KANDIC: The brother will be there for you

BILARDI: How will we find each other?

KANDIC: When you exit from the airport..and you reach where the
people are waiting for there loved once walk to the right
side..

KANDIC: .. there will be a phones booth..stand or sit next to it

KAI\U)IC: The phone booth will be on the same side almost against
the wall

KANDIC: That’s it

KANDIC: The brother will say that I sent him

KANDIC: :)

KANDIC: 0k?

BILARDI: Ok

29. A review of airline reservation records revealed that on August 25-26,

2014, Bilardi travelled from Tullamarine Airport in Melbourne, Australia to Istanbul Ataturk

Airport in Istanbul, Turkey.

30. On December 24, 2014, Twitter username “@ISWWorldPress” (“Twitter

Account E”), whom l believe to be KANDIC, engaged in the following communications with

Bilardi, using Twitter username “@AbuAbdullah_Aus”:

BILARDI:

BILARDI:

I’ve been wanting to speak to you ever since I came but I
haven’t had any internet until now.

l’m in Ramadi right now, I’m signed up as istishhadi [a

KANDIC:

KANDIC:

KANDIC:

KANDIC:

BILARDI:

BILARDI:

KANDIC:

KANDIC:

KANDIC:

BILARDI:

BILARDI:

BILARDI:

BILARDI:

BILARDI:

 

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martyr], inshallah {God willing] I’ll be going soon so I
wanted to speak to you before I go.7

Ma shaAllah [God willed it]

Yes Akhy [brother]

Al hamdu lillah [Praise be to God]

May Allah grant you the best of the best of j annatul
Firdaws [the highest level of Paradise] in shaAllah [God
willing]

There were ten istishhadiyeen [martyrs] in the house I’m at
right now and now four have gone and I’m number 6 so
inshallah [God willing] it’s very close.

Ameen

Al hamdu lillah [Praise be to God]

When did you decide to be istishhadi [a martyr]

1)

After about l month in Sham [Syria] I signed up as
istishhadi [a martyr] and they sent me to Baiji in Iraq

I actually went on an operation in Baiji, there were eight
istishhadiyeen [martyrs], 3 went and I was the fourth but
the emir pulled everyone back...

because there were constant airstrikes.
After that, I thought too much and decided to fight instead
so I was fighting in Baiji for a while and then I signed up as

istishhadi [a martyr] again

And they sent me to Ramadi walhamdulilah [Praise be to
God]

7 The term “istishhadi” is an Arabic Word meaning “martyr” and, in this

context, refers to a suicide bomber.

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KANDIC:

KANDIC:

KANDIC:

17

1)
Ma shaAllah [God willed it]

May Allah give you What is best for you

31. From March 4 to March 6, 2015, Twitter username “@Greatest_Nation”

(“Twitter Account F”), whom l believe to be KANDIC, engaged in the following

communications with Bilardi, using Twitter username “@Muhajir_Aus”:

KANDIC:

KANDIC:

BILARDI:

BILARDI:

BILARDI:

BILARDI:

KANDIC:

BILARDI:

BILARDI:

KANDIC:

How are you Akhy [brother]

You’re still breathing this worldly air

Alhamdulilah [Praise be to God] I’m good. How are you?
Unfortunately yes, hahaha

l keep getting told its only a few days away and then I’m
left waiting another month. From what’s been happening

here though

l think they’ve got something big planned for Ramadi and
it should be relatively soon

In shaAllah [God willing]

Alhamdulilah akhi [Praise be to God brother], just went to
look at my target today for my operation, inshallah [God
willing] it should only be a couple of days now.

There’s about 200 brothers from Sham [Syria] that have
been brought to Ramadi, everything’s ready to gO.
Alharndulilahi Rabbil Alameen [Praise be to God, the Lord
of the worlds]

May Allah reward you immensely

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18
KANDIC: So how do you feel about your mission
BILARDI: Oh Okay
KANDIC: May Allah make there inner organs implode

32. On March 11, 2015, Twitter username “@GreatISNation45,” whom 1
believe to be KANDIC, posted the following messages announcing that Bilardi had carried out
a suicide attack in Ramadi, Iraq: “Breaking News: Australian citizen Jake Bilardi aka Abu
Abdullah carried the martyrdom operation in #Rarnadi, #Iraq http://t.co/KinDRO3J8”; “RT
@_ROeschick_: May Allah give hime highest of ranks in Jannah [Paradise] InSha Allah {God
willing]. Martyr abu Abdullah australi. #IS \n http://t.co/x9YGeux65U.” Approximately nine
months later, on December l, 2015, Twitter usernames “@JoinlSNation92” and
“@GreatISNation%,” whom I believe to be KANDIC, posted the following message
re-publicizing Bilardi’s suicide attack: “Australian #IS Lion Istish’hadi (Fidai) [Marytr
(Self-Sacrificer)] Jake Bilardi who killed 57 Shia kufar [infidels] and wounded many more In

#Ramadi.”

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WHEREFORE, your deponent respectfully requests that an arrest warrant be
issued for the defendant MIRSAD KANDIC, so that he be dealt with according to law.

725/h

ROBERT}, .ELMEN
Special Agent, Federal Bureau of Investigation

Sworn to before me this
22nd day of April, 2016

 

rri;s'r'lo'NoRABLE RoANNE L. MANN
UNITED srATEs MAGISTRATE JUDGE
EASTERN Drs'rchr or NEW YORK

